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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                                          :        Chapter 7
                                                                :
WORLEY & OBETZ, INC., et al.,1                                  :        Case No. 18-13774 (REF)
                                                                :        (Jointly Administered)
                            Debtors.                            :
                                                                :

                  AGENDA OF MATTERS SCHEDULED FOR HEARING ON
                      SEPTEMBER 18, 2018 AT 9:30 A.M./11:00 A.M.

MATTERS GOING FORWARD

         1.       Motion for Allowance and Payment of Administrative Expense Claim Pursuant to
                  11 U.S.C. § 503(b)(9) filled by Eby-Brown Company, LLC [D.I. 348; Filed on
                  August 22, 2018]

                  Objection Deadline: September 10, 2018

                  Responses Received:

                            A.      Trustee’s Limited Objection to Motion of Eby-Brown Company,
                                    LLC for Allowance of Administrative Expense Claims Under 11
                                    U.S.C. § 503(b)(9) [D.I. 405; Filed on September 7, 2018]

                  Status:                    The Trustee and Movant have been engaged in good faith
                                             negotiations to resolve the Motion. The parties anticipate
                                             filing a joint consensual order resolving the Motion prior to
                                             the Hearing.

         2.       Motion of the Chapter 7 Trustee for (I) an Order (A) Approving Bidding
                  Procedures, Including Break-Up Fee and Expense Reimbursement; (B) Scheduling
                  Bid Deadline, Auction Date, and Sale Hearing and Approving Notice Thereof; and
                  (C) Approving Procedures to Fix Cure Amounts Related to Assumption and
                  Assignment of Certain Executory Contracts and Unexpired Leases and Approving
                  Notice Thereof; and (II) an Order Approving (A) the Sale of Substantially All of

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 The Debtors is these cases, along with the last four digits of their federal tax identification numbers are (i) Worley
& Obetz, Inc. (6576) (Case No. 18-13774-REF); (ii) Americomfort, Inc. (7605) (Case No. 18-13775-REF); (iii) Ranck
Plumbing Heating & Air Conditioning, Inc. (9625) (Case No. 18-13776-REF); (iv) Amerigreen Energy, Inc. (6284)
(Case No. 18-13777-REF); (v) Advance Air, Inc. (8111) (Case No. 18-13778-REF); (vi) Amerigreen Energy Brokers,
LLC (2358) (Case No. 18-13779-REF); (vii) Amerigreen Electricity, LLC (8977) (Case No. 18-13780-REF); (viii)
Amerigreen Hedging Services, LLC (8549) (Case No. 18-13781-REF); (ix) Amerigreen Lubricants, LLC (7489) (Case
No. 18-13782-REF); (x) Amerigreen Natural Gas, LLC (3222) (Case No. 18-13783-REF); and (xi) Amerigreen
Propane, LLC (Case No. 18-13784-REF).



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                the Debtors’ Assets Free and Clear of Liens, Claims, Interests and Liabilities and
                (B) the Assumption, Sale and Assignment to Buyer of Certain Contracts of Debtor
                [D.I. 353; Filed on August 24, 2018]

                Objection Deadline: September 10, 2018

                Responses Received:

                        A.    Cure Objection of Colmar Terminal, Inc. [D.I. 399; Filed on
                              September 6, 2018]

                        B.    Plains Marketing, L.P.’s Limited Objection to Proposed
                              Assumption of Contracts Absent Payment of the Correct Cure
                              Amounts [D.I. 410; Filed on September 10, 2018]

                        C.    Objection of Rineer Sons Real Estate Investments, LLC to
                              Assumption and Assignment of Assumed Contract and Cure Costs
                              [D.I. 411; Filed on September 10, 2018]

                        D.    Commonwealth of Pennsylvania Department of Environmental
                              Protection’s Limited Objection and Reservation of Rights [D.I. 413;
                              Filed on September 10, 2018]




                                             Respectfully submitted

                                             FOX ROTHSCHILD LLP

                                             By: /s/ Jesse M. Harris
                                             Jesse M. Harris, Esquire
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                                             Philadelphia, PA 19103-3291
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Dated: September 14, 2018                    Counsel for Christine C. Shubert,
                                             Chapter 7 Trustee for the Debtors




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